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Filing # 53446476 E-Filed 03/08/2017 12:32:04 PM



       IN 4ÿ-2 CiRCUiT COURT OF T -IE FIFTEENTH
       JLIDICIAL:CIRCÿIT, IN AND. FOR PAEM
       BEACI:I COLINTy, ELORIDA

       CASE NO.:

        MARJORIE GAYE HARRISON and
       RAY HARRISON. her husband,

               Plaintiffs
       V.



       STATE FARM MUTUAL AU'[OMOBtL ,;
       [NSU.RANCE COMP:ANy,

               Defendant.



                                                   COMPLAINT

                       COME NOW the Plaintiffs, MARJORIE GAYE DARRJSON and RAY
       HARRISON, her liusband, bY and thi:ough ttÿeir undersig:ned counsel, 'and sue the Defendant,

       STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, and allege:


               1.   'This is an action [ÿoI: damages {n ex'cess o1: IZi['teen Thousand Dollars :($15;000.00),

       exclusive'of interest and costs.

              2.    '[7hat at ali times material to tile creme herei,!, tt)e Plaintiff, MAR,IORIE GAYE

       HARRISON and RAY HAIÿL[ÿSON, are and '.',,ere residents of 9Vest-Pahn Beachÿ Iÿahn Beach

       Crumb,, Florida and livi.ng togethel: as husband and wi'fe.

              3.    Tl!at at all times !ÿ3atefiÿl to tl'ie cause herein, the Dgfenc[ant, STATE FARM

       MUTUAL AUTOMOBILE INSURANCE COMPANY, was and is an illinois insurance oompaay

       author{zed to db business in tlÿ¢ State of Florida and ',vas and {ÿ:dNng subsmt3tla{ bushÿess in Palm

       Beach County., Florida.
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                        COUNT 1 - UNINSUREDÿUNDER1NSUREI)MOTOIÿST -
                   STATE EARM MUTUAL AUTOMOBILE INS:UIÿNCE COMPANY


              4.   The plaintiff hereby re,qlleges and i,eavors all tlie General Allegations contained in

      paragraphs 1 throÿ.Lgh 3 aboveÿ as though !'ully set forth het,ein,

              5.   That ,at all times material to the. cause herein the Deliÿndant, .STATE. FARM

      MUTUAL AUTOMOB]LE NSURA}',!(!'; COMPANY .ÿad il) iÿ.111 :l"orce and effect a'poiicy 01:

      insurance, and that i)m!suaait to the terms and conditions of said policy, uninsured and/or

      underinsured motorists coverage was available to the Plaintiff for injuries caused hot: by ml

      uninsured o1' underinsured motprist.

              6.   'I'hat the Defendant, S:I-ATE FARM MUTUAl.. AUTOMOBILE INSURANCE

      COMPANY, has inSts possession, a col?y ol'said policy.of insurance,.and iS.ful!y awatÿ?oFthe:terms

      and conditions of said pol.iey, and the coverages ÿff.forded'thereunder.

              7.   TIsar on or about January 5, 20J6, Perry Michael :Martinez oavned and operated a

      motor ,,,ehic[e. at or rCear the intersecti0rt of I3eh,edel'e Road and Lake Avenue in ',ÿ(est Palm Beach,

      inthe County of Palm Beach, Florida.

              81    Tl'iat at that rime and place, PerITy Michael Mal,tinez so negligendy operated, and/or

      maintained his motor vehicle so tha4 it collided with 'a motor vehicle owned and being operated by

      Renee Esther Kessler, and in wlÿich velaicle the Plaintiff, MAR.IORIE GAYE HARRISON, was a

      passenger.

              9.    That at all times material io (lie cause herein., PmTy Midmel Martinez was

      uninsured/tmderinsured,
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              10.    That as.a direct and pro×imate result of the negligence o1: Perry Miclm¢l Martinez,

      the Plaintiff has suffered bodily injuo' and resulÿ.ing pain and suffering, disability,, disfigurement,

      mental anguish, loss of the 'capacity for the enjoyment of life, expense of.bospitalizati0n, medlcal

      and nursing care and treatment; loss ofgamhlgs, loss of ability to earn money and aggravation of a

      pre,existil!g eonctition. These losses are eidler.pennmmnt or eoatbmiag and the.Plainti'ff"ÿvil[ suffer

      said losses in the future.

              1 I. That pursumlt tq thg:'temÿs and conditions of the policy oÿ" insnl,ance issued by the

      Defendant, STATE FA:RM MUTUAL AUTOMOBILE INSURANCE COMPANY, said

      Deÿ:endant is liable ÿo the Plabatifffor any and all damages caused by PeI:w Michael Mav{inez.

              WHEREF01ÿ:E, tlÿe Pla il)fiff, MARJORIE GAYE I-[AKRISON, hereby demands judgment

      against the .Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, for

      ce, mpeasatoW damages, costs< int,:rosE aild fÿlrthel: demands thai b), j ray.


                          COUNT'[i. -ÿ:LOSS OF CONSORTIUM- P4AY HARRISON

              12. The Plaintiffs reallege told reassert die allegations set:foiib aboÿ,e and state:ÿ

              13.   That at aH times material to the cause herein, the Plaintiffs were husband and veil}

      living together under this family reta.tionShipÿ

              14.    As a direct and proaimatÿ resu!i of the albresaid ÿ).egligence of PenT Michael

      Martinez, the Plaintiff, RAY HA:R:RISONÿ suffered in lhe past aud wiIJ continue 'to suffer lbr ,'m

      indefinite time in the 17utum ÿhe deprivatiol! of the consortium and services of lais wife, MAEIORI,5

      GAYE HARRISON, who pl, ior to 1;be ÿeeident had been in good healdl 0:gd fully capable o[:

      perfonning any of her household and family relationship duties, bu! now cannot do so.

             WI-IEREFORJE, Plairÿtilÿ; RAY I-[ARR_ISON, prays for jtldgment against the Defendant,

      STATE F.ÿ,\RM MUTUAL ALJTOMOBI.EE ]NSURANCE COMPANY, in an amount in excess of

      giReen Tlmusand and 00ÿ10Q:($15,000:00) Dollars, exclusive of costs and interestÿ and fi.trther
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      demands trial by jÿ.u'y.




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